 

Case: 3:97-cr-50026.cument #: 352 Filed: 05/18/98 Pa of 3 Page|D #:1863

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UNITED sTATEs oF AMERICA ) ‘ » “--’r\T
)
v. ) No. 97 on 50026-7
) Judge Philip G. Reinhard
MITCHELL wmrBUsH )

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UNrrED sTATEs' INFoRMAnoN To DEFENDANT “‘4)' 1 3 Zggg
I\II'I`CHELL WHHBUSH REGARD[NG

PRIOR CONVICTION AND PENALTIES
The United States of America, by SCOTT R. LASSAR, United States Attorney for the
Northern District of ]]]inois, pursuant to 21 U.S.C. § 851, notilies defendant Mitchell Wimbusli that
the government will rely upon and prove for purposes of enhanced sentencing and penalties that on
approximately September 1, 1994, in cause number 93 CF 1110, Winnebago County Circuit Court,
lllinois, Wimbush was convicted of a violation of the Controlled Substances Act, Ill.Rev.Stat. Chap.

561/2, § l401(b), a felony drug offense, and sentenced to l year on conditional discharge

Under 21 U. S.C. § 84l(b)(1)(A)(iji), if convicted of the charge contained in Count One in the
present Superseding Indictment, defendant must be sentenced to at least twenty (20) years
impiisonrnent, may be sentenced up to life imprisonment without release, a fine of up to $8,000,000,

and placed on supervised release for at least ten (10) years and up to life.
Under 21 U.S.C. § 84l(b)(l)(B)(iii), if convicted of the charge contained in Count Thirteen
in the present Superseding Indictment, defendant must be sentenced to at least ten (10) years

imprisonment, may be sentenced up to life imprisonment Without release, a fine of up to $4,000,000,

and placed on supervised release for at least eight (8) years and up to ljfe.

 

_ Case: 3:97-cr-50026'ument #: 352 Filed: 05/18/98 Pa' of 3 Page|D #:1864

Under 21 U.S.C. § 841(b)(1)(C), if convicted of the charge contained in Count Twelve in

the present Superseding Indietment, defendant may be sentenced up to thirty (30) years

imprisonment, aiine of up to $2,000,000, and placed on supervised release for at least six (6) years

and up to life.
WHEREFORE, the United States respectiillly submits this infonnation.

Respectfully submitted,

SCOTT R. LAS SAR
United States Attorney

   
 

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JOH'N G_ McKENZlE "`"-"
sistant United States Attorney
308 West State Street - Room 300
Rockford, Il]inois 61101

(815) 987-4444

 

Case: 3:97-Cr-50026 Cument #: 352 Filed: 05/18/98 Pa.'z of 3 Page|D #:1865

CERTIFICATE OF FILING AND SERVICE
I, JOI-IN G. McKENZ]E, certify that on May 18, 1998, I caused the foregoing pleading in this
case: (1) to be filed with the Clerk of the United States District Court for the Northern District of

Illinois, Western Division; and (2) a copy thereof to be hand-delivered to Daniel King, Esq.

NS\\

G. McKENZlE

sistant United States Attorney
308 West State Street - Room 300
Rockford, Illinois 61101

(815) 987-4444

  
  
 

